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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Western District
                                                    __________ Districtofof
                                                                          Tennessee
                                                                            __________

                                                                    )
                                                                    )
                                                                    )
ARTIS WHITEHEAD                                                     )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:24-cv-02991
CITY OF MEMPHIS, JAMES HOWELL, TERRY LYONS,                         )
ROBERT RAGLAND, JOSEPH PEARLMAN, VIVIAN                             )
MURRAY, THOMAS WARRICK, TIMOTHY GREEN,                              )
EDWARD BASS, ROBERT HULL, JR., JAMES BOLDEN,                        )
and UNKNOWN EMPLOYEES OF THE CITY OF MEMPHIS,                       )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                                           Robert Ragland
                                           125 N. Main Street Room 336
                                           Memphis, TN 38103



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Margaret Gould
                                           Loevy & Loevy
                                           311 N Aberdeen, Fl 3
                                           Chicago, IL 60607
                                           gould@loevy.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             12/30/2024
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No. 2:24-cv-02991

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)        Robert Ragland
 was received by me on (date)              02/09/2025                 .

           u I personally served the summons on the individual at (place)

           1230 Bent Tree Lane, Searcy, AR 72143                                on (date)     02/20/2025               ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           u I returned the summons unexecuted because                                                                               ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $           0.00          .


           I declare under penalty of perjury that this information is true.


 Date:     02/24/2025
                                                                                            Server’s signature


                                                                                  Rebecca Whitaker, Process Server
                                                                                        Printed name and title




                                                                                 P.O. Box 2384, Bentonville, AR 72712
                                                                                            Server’s address

 Additional information regarding attempted service, etc:
